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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


 MY PILLOW, INC., d/b/a MyPillow,                   Case No. 21‐CV‐1015 (PJS/DTS)

               Plaintiff,

 v.                                                              ORDER

 US DOMINION, INC.; DOMINION
 VOTING SYSTEMS, INC.; and
 DOMINION VOTING SYSTEMS
 CORPORATION,

               Defendants.

       This matter is before the Court on a letter from defendants (collectively

“Dominion”) regarding briefing for its anticipated motions to dismiss and to transfer.

Having considered the letter, the Court concludes that the best course of action is to stay

this case until a decision has been rendered on the parties’ pending motions in the

related case US Dominion, Inc. v. My Pillow, Inc., No. 1:21‐cv‐00445‐CJN (D.D.C. filed

Feb. 22, 2021) (“the D.C. action”), as the decision on the motions that are pending in that

case will undoubtedly inform and affect the parties’ briefing on Dominion’s anticipated

motions in this case. If the parties submit briefing on Dominion’s anticipated motions

before the pending motions in the D.C. action are decided, it is inevitable that the

parties will seek to file supplemental briefs in this action to address the impact of the

ruling in the D.C. action, adding expense and delay for the parties, and adding to the

burden on this Court.
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     The Court therefore orders as follows:

     1.       This case, including Dominion’s deadline to answer or otherwise respond

              to the complaint, is STAYED until further order of the Court.

     2.       No later than seven days after a decision has been rendered on the

              pending motions in the D.C. action, Dominion must file a letter informing

              the Court of the decision and attaching a copy of the order disposing of

              the motions. The Court will then promptly schedule a status conference

              or schedule a hearing date on Dominion’s anticipated motions and issue a

              briefing schedule.

     SO ORDERED.


Dated: July 6, 2021                            s/Patrick J. Schiltz
                                              Patrick J. Schiltz
                                              United States District Judge




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